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                              UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF CALIFORNIA

_________________________________________

ROBERT E. STYRE,                                          NO. 1:07-CV-01436-WWS (HC)
                                    Petitioner,
                                                          ORDER GRANTING
       v.                                                 RESPONDENT’S MOTION
                                                          FOR A STAY OF THE COURT’S
                                                          APRIL 9, 2009 ORDER
DERRAL G. ADAMS, Warden                                   GRANTING THE PETITION
                              Respondent.                 FOR WRIT OF HABEAS
_________________________________________                 CORPUS


       Good cause appearing, the Respondent’s motion for a stay pending disposition of appeal

to the Ninth Circuit is granted.



DATED: April 15, 2009

                                                    /s/ William W Schwarzer
                                                  Hon. William W Schwarzer
                                                  United States District Judge
